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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

                                          )
MARIA M. KIAKOMBUA, et al.,               )
                                          )
             Plaintiffs,                  )
                                          )
       v.                                 )       No. 19-cv-1872 (KBJ)
                                          )
CHAD F. WOLF, in his official capacity as )
Acting Secretary of the Department of     )
Homeland Security, et al.,                )
                                          )
             Defendants.                  )
                                          )


                                       ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is hereby

       ORDERED that Plaintiffs’ motion for summary judgment (ECF No. 36) is

GRANTED with respect to the first claim for relief in Plaintiffs’ supplemented first

amended complaint (ECF No. 62-2), and Defendants’ cross-motion for summary

judgment (ECF No. 31) is DENIED. Accordingly, the parts of USCIS’s “Lesson Plan

on Credible Fear of Persecution or Torture” (Ex. 1 to Admin. Record, ECF No. 61-1, at

2–38 (“April 2019 Lesson Plan”); Ex. A to Defs.’ Status Report, ECF No. 58-1, at 2–39

(“September 2019 Lesson Plan”)) that are addressed in Section IV.C of the

accompanying Memorandum Opinion are DECLARED UNLAWFUL. It is

       FURTHER ORDERED that, because the unlawful parts of the Lesson Plan are

not severable from the remainder of the document, the entire Lesson Plan is

VACATED, and this matter is remanded to the agency for further consideration in light

of this Court’s Memorandum Opinion. It is
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       FURTHER ORDERED that Defendants are ENJOINED to void the credible

fear determinations that were previously made with respect to each Plaintiff and to

provide each Plaintiff with a new credible fear evaluation, as necessary for each

Plaintiff to be afforded the opportunity to pursue asylum relief in the context of full

removal proceedings. Defendants may waive the required new credible fear assessment

and confirm (through the issuance and filing of proper Notices to Appear) that any or

all of these Plaintiffs have been placed into full removal proceedings under 8 U.S.C.

§ 1229a. Any Plaintiff who is not placed into full removal proceedings shall be

afforded a new credible fear interview that does not rely upon the provisions of the

Lesson Plan that this Court declared unlawful, and thus conforms with this Court’s

Order. Likewise, Defendants must facilitate new credible fear interviews that are

consistent with this Court’s Order, or facilitate full removal proceedings, for Plaintiffs

Julia and Sofia, by returning these Plaintiffs to the United States—at no financial cost

to them—in order to execute the Order of this Court. Defendants shall work in good

faith to carry out the relief ordered and shall communicate periodically with Plaintiffs’

counsel until the relief ordered is completed. It is

       FURTHER ORDERED that Defendants’ motion to strike evidence outside of

the administrative record (ECF No. 52) is DENIED for the reasons set forth in footnote

19 of the Memorandum Opinion.



DATE: October 31, 2020                    Ketanji Brown Jackson
                                          KETANJI BROWN JACKSON
                                          United States District Judge




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